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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case

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                                     UNITED STATES DISTRICT Co                                          TCL::
                                         SOUTHERN DISTRICT OF CALIFORNIA                             ':;YJ r:                            "x,~JI.o.
              UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL 'CASK"'J!fC..--:----~-"y
                                v.                                   (For Offenses Committed On or After November 1, 1987)
           ANDREW DAMON RICHARDSON (3)
                                                                        Case Number:          14CR3537-BAS

                                                                     STEPHEN PATRICK WillTE
                                                                     Defendant's Attorney
REGISTRATION NO.                    48903298
 o ­
 IZI   pleaded guilty to count(s)      ONE (1) OF THE INDICTMENT

 o was found guilty on count(s)
     after a plea of not guilty.                                ' . .
 Accordingly, the defendant is adjudged guilty ofsucbcount(s), wbicbinvolvethefollowing offense(s):
                                                                                                                                  Count
 Title & Section                     Nature of Offense· .                                                                        Number(sl
 18 USC 1962(d)                      CONSPIRACY TO CONDUCTENTERPRISEAFFAIRS                                                         1
                                     THROUGH A PATTERN OF RACKETEERING ACTIVITY




                                                .         .   .
      The defendant is sentenced as provided in pages 2 through                 4.          '" of this judgment.
 The sentence is imposed pursuant to ,the Sentencing Reform Act of 1984.
 o The defendant has been found not guilty on count(s)
 o Count(s)                                                   " is          dismissed on the motion of the United States.

 IZI    Assessment: $100.00



 IZI No fine                    o Forfeiture pursuant to order filed,                                                 , included herein.
        IT IS ORDERED that the defen<iant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailmg address until all fmes,. restitution, costs,. and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
 any material change in the defendant's economic circumstances. '


                                                                      SEPTEMBER 28. 2015




                                                                     ,'UNITED STATES DISTRICT mDGE


                                                                                                                                 14CR3537-BAS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
 TWENTY FOUR (24) MONTHS.




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE PLACED IN THE BOP RESIDENTIAL DRUG
       AND ALCOHOL PROGRAM (RDAP).                                 .
       THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TOA FACILITY IN THE
       WESTERN REGION AS CLOSE TO SOUTHERN CALIFORNIA As POSSIBLE.

  o    The defendant is remanded to the custody of the lJnitedStatesMarshal.

  o    The defendant shall surrender to the United States Marshal for this district:
        o    ~AM
                 ----------~~--
                                                             . on
        o    as notified by the United States Marshal. .

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  o     Prisons:                               .
        o    on or before
        o    as notified by the United Stales Marshal. .
        o    as notified by the Probation or Pretrial Services Office.

                                                      . RETURN
  I have executed this judgment as follows: .

        Defendant delivered on                                           to
                                 --------------~~----~                        ~--------~----------------
  at _ _ _ _ _ _ _ _--'-_ _ , with a certified copy ofthis judgment.


                                                                    UNITED STATES MARSHAL



                                      By                   . DEPUTY UNITED STATES. MARSHAL


                                                                                                        14CR3537-BAS
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o      substance abuse. (Check, ifapplicable,l                                 . .
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC seetion3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau ofPrisons, or any statesex offender registration agency in which he or she
       resides, works, is a student, or was convicted ofa qualifying offense. (Check ifapplicable.)
o      The defendant shall participate in an approved progratn for domestic violence. (Check ifapp/icab/e.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition ofsupervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have beenadoptea by this court. The defendant shall also comply
      with any special conditions imposed.                                          ..
                                        STANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries bythe probation officer and follow the instructions of the probation officer;
     4)    the derendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
           reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in ~esidence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
           any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold., used., distributed., or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
           unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
            observed in plain view ofthe probation officer;
     ] ] ) the defendant shall notifY the probation officer within seventy-tWo hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to actas an informer or a special agent of alaw enforcement agency without the permission of
            the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confirm the defendant's compliance
            with such notification requirement.



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                                 SPECIAL CONDITIONS OF SUPERVISION

      1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
         and counseling, as directed by the probation officer. Allow for reciprocal release of infonnation between
         the probation officer and the treatment provider .. May be required to contribute to the costs of services
         rendered in an amount to be detennined by the probation officer, based on ability to pay.

      2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.


      3. Submit your person, property, residence, office, social media accounts, or vehicle to a search, conducted
         by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
         reasonable suspicion of contraband or evidence of a violation ofacondition of release; failure to submit
         to a search may be grounds for revocation; the defendant shall warn any other residents that the premises
         may be subject to searches pursuant to this condition.

      4. Shall not knowingly associate with any known member, prospect, or associated of the (Tycoons, Add It
         Up, and/or Bloods), or anyother gang, or club with a history ofcriminal activity, unless given
         pennission by the probation officer..


      5. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials
         associated with a gang, unless given pennission by the probation officer.


      6. Shall not loiter, or be present in locations knoWn to be areas where gang members congregate, unless
         pennission by the probation officer.


      7. Resolve all outstanding warrants within 60 days.

      8. Shall not knowingly associate with prostitutes orpimps and/or loiter in areas frequented by those
         engaged in prostitution and sex trafficking.



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